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                                                                                 U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                                           FILED
                         UNITED STATES DISTRICT COURT
                                                                                     May 13 - 2024
                                 Northern District of New York
                                                                                        John M. Domurad, Clerk
                                      6th Judicial Division



_______________________________________
                                       )
JANE DOE, JOHN DOE,                     )
JOHN DOE, JANE DOE                      )                     Case No.3:24-cv-274 (MAD/ML)
                                       )
                     Plaintiffs         )
                                       )
          -against-                    )
                                       )                      DECLARATION OF
                                       )                      JANE DOE
                                       )
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant          )
______________________________________ )



     DECLARATION OF JANE DOE IN SUPPORT OF DEFAULT JUDGMENT



I, JANE DOE, declare under penalty of perjury that the foregoing is true and correct:

1.     I am the Plaintiff in the above-captioned action and submit this Declaration in support of

my motion for Default Judgment against Defendant Jonathan Rees aka Greg Ellis aka Johnathan

Rees aka Jonny Rees aka Jacob Lorenzo.

2.     I am over eighteen (18) years of age. I have never been convicted of a felony or any

criminal offense involving moral turpitude.




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3.        Upon information and belief, Defendant is not an infant, in the military or an incompetent

person.

4.        Plaintiff respectfully submits the entry of default judgment against Defendant.

                                   I.      NATURE OF CLAIMS

5.        On April 17th 2024 I was granted a three year Full Stay Away Order for myself and my

three children against Defendant ordered by Honorable Judge Young in Broome Family Court,

redacted OOP, Exhibit 1, after a 6 month court case with Defendant, who was initially engaged
in Court appearances to defend my Petition against him, however, at the pretrial conference after

Judge Young denied all Defendant’s motions to dismiss with Defendant knowing the trial would

go ahead, Defendant made a conscious decision not to personally testify or defend my Petition

further himself with two of his attorney’s Chris Brown, Esq, and Rick Miller III, Esq. showing

up on the day of the trial with last ditch efforts to stop the trial, unsuccessfully, and the trial went

ahead without Defendant present with my testimony accepted as credible, along with evidence to

back up my claims.

6.        Regardless if the Defendant had testified or not in the OOP trial, I believe the outcome

would have been the same with myself and my children receiving an OOP against him due to the

overwhelming evidence and my credible testimony, however, Defendant is still appealing the

decision, which Broome Family Court notified me of on May 10th, 2024 informing me that

Defendant is appealing Judge Young’s 3 year Order of Protection for myself and my children as

per his typical pattern of abuse, which he did to his ex-girlfriend and ex-wife, and consequently

lost each of those appeals, as I believe he will this time too, Exhibit 2, notice of appeal.

7.        I know first hand who the Defendant really is and given all myself and my children have

experienced, I believe he’s the worst kind of narcopath and the most vindictive person I’ve ever

met in my life. My opinion is that he should be in prison for his outlandish criminal behavior



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towards me and my children spanning 18 months with no let up from him at all. I believe the

reason he fled New York to Illinois is because he knew he had committed multiple State crimes

towards us and other women, plus gun crimes, including him applying for a Firearm lying on his

gun application in Chenango County in August 2023 that he hadn’t been mentally

institutionalized or in drug/alcohol rehab, when he has been multiple times, Exhibit 3, Mental

Health Records and Drug rehab ordered by the Court. He also used a PO Box address in El

Segundo for his address, not his actual physical address in New York where he applied for the

Firearms in Chenango County and lived prior to selling his multimillion dollar home in
December 2023. Based on what I’ve experienced and witnessed, I believe the Defendant acts as

if the rules don’t apply to him ignoring the DOJ/FBI denial letter Exhibit 4, which Defendant

sent to me in an email asking me to help him resolve it, and possessing guns illegally from

Matthias Wesner, putting my children in extreme danger using force attempting to take my boys

out to shoot beavers while intoxicated to make “men out of them”, which I had to stand up

against given he was scaring the life out of my children and myself, wondering if he was going

to shoot us accidentally given how inebriated Defendant was at the time.

8.     Defendant doesn’t want people to know that he physically assaulted me, climbed into bed

with my minor daughter when she was 12 years old with what seems like disturbing intentions

while intoxicated by how he pulled her into him, and continued to pursue her after I cut off all

communication with him. He was sending me death threats, while at the same time sending my

daughter cards to build a friendship with her, along with other crimes with him harassing and

stalking us, stealing my identity, forging my signature on Affidavits to the Court he submitted

against his ex-girlfriend that I did not write or sign in order for him to receive a temporary OOP

against her, attempting to get her arrested with falsified documents, showing the lengths

Defendant will go to in order to “win”, which from my experience is how he views Court, like a

game. This led to a hate campaign against me on social media with women coming out in the

hundreds on Facebook and X (formally known as Twitter) believing I was supporting Defendant


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after he sent out Revenge Porn against his ex-girlfriend given the statements he had fraudulently

submitted to the court as if they had come from me, when they hadn’t, creating severe damage to

me publicly. I’m connected with him publicly due to him forging my signature and submitting

fraudulent statements to court in support of his case against his ex-girlfriend, which will be a

public record forever.

9.     The level of harassment, stalking/cyberstalking, not just happening to me, but to my

minor children too, has resulted in my daughter Jane Doe minor being so afraid of him and

anxious that he is going to come into the house at night and hurt her/or someone would take her
away from me, is now too scared to sleep in her own bed and has slept in bed with me every

night for the last 7 months, something she didn’t even do as a baby after I finished breastfeeding

her unless she had a fever for the odd night here and there. The long term psychological damage

he has caused my children is difficult to measure, but what I do know is he intended to harm

them with calculated malicious intent in order to hurt me through hurting them, and why he

posted on social media under one of his many aliases “Sybil” with the same content on the

exclusive websites he set up about me that “their dad is a child rapist” and “they were abused by

their father, who’s a child rapist” sharing this information widely with their school friends, along

with his edited videos with dramatic music and text “attempted murderer” which simply shows

me walking on his Ring footage, nothing even remotely a crime, but the text Defendant wrote

leads people to believe I’m an assassin trying to kill him, which is ludicrous and the rantings of a

disturbed paranoid man, who has managed to spin his narrative to portray me as a fraud, a thief,

dangerous just like he did about his ex-wife who according to public court records had to hire

private security to protect herself and their children from him, and his ex-girlfriend who in Court

records states she moved to a different State after he sent out articles about her to the local

community in the same creative fashion he did against me with the websites, intent to destroy

them both after they walked away from him and filed for OOP due to domestic violence.




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10.    My youngest son is extremely academic, with him uniquely talented in math in the top

2% within his grade in the United States, with aspirations and the aptitude to do very well in

High School in order to attend a top college with him set on MIT, however, he hasn’t been to

High School consistently since October 4th given the bullying he’s been subjected to given the

videos circulating and malicious falsehoods started by Defendant that my son had been abused

by his “child rapist father”. School counselors are worried about him and it’s likely he will have

to retake this entire school year. We’ve also discussed moving to a new State to start a new life in

the Summer ready for the next school year given my children are being subjected to non-stop
bullying and torture on a daily basis and is unlikely to stop. Teenagers don’t understand the

consequences of screen recording and sharing this information with others, which is damaging.

In my daughters school it got so bad for her, the school held a meeting with all 8th grade students

and told them to stop sharing the video circulating about a student’s mom. My daughter said to

me, once feathers come out of a pillow it’s impossible to get them all back in. She knows even at

her young age that this information will always come up with videos and screenshots on the

internet forever. If they become successful in their own right, which is likely with my daughter a

talented singer and VoiceOver actor working on a production for Netflix 2 years ago, it’s likely

this information will follow them around, which is extremely heart breaking when they were not

sexually abused by their father, nor am I an attempted murderer.

11.    My eldest son is a shy, gentle soul and a talented tennis player in the High School Varsity

Team. He has become so stressed due to what is circulating in High School about “him being

abused by his child rapist father” and videos of his mom “attempted murderer” that he’s been

experiencing severe headaches with our doctor referring him to a Neurologist for further

investigation. He has missed weeks off school after the school removed all my children two

different times, first in October for one week after the phone calls started by the Defendant, and

the second time in January for 4 weeks with me having to appeal the removal of my children to

the Education Commissioner resulting in my children being accepted back into their school.


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Defendant contacted their school telling their counselor Katie Simek “anonymously” that I was

dangerous, a criminal, that my children were in danger, along with anonymous “tips” to CPS

starting on the same day the school were called, resulting in my children being interviewed

multiple times by various CPS officers along with their counselors, who deemed the allegations

unfounded. Each time a call was made to CPS about me, they had no choice but to investigate as

per New York State Law, staying on mine and my children’s record until each of them turns 27

years old. Once Judge Young ordered CPS to investigate these calls given they were negatively

harming my children, and also appointed an independent Attorney Rob Kilmer to represent my
children to establish the facts, the calls to CPS and the School stopped, but the damage had

already been done over months.

12.    Defendant’s harassment and stalking has led to us moving to multiple properties over the

last few months, including AirBnB’s and hotels, transient unable to settle until I know my

children and I will be safe from him, which I hoped would have been the case after we received

the OOP against him with the Judge ordering a full stay away order, and him and his third parties

to stop posting about us on social media, and for Defendant to take down the website about me

and my children, which he has failed to do, and in fact, has made further changes to the website

on May 6th, 2024. Since Defendant set up the two websites about me in August 2023, one

website came down in November, 2023 after Judge Young ordered he removes the websites with

his attorney’s instructing him to do so, but he kept one active ending in .info which I have

tracked using Wayback Machine showing me every single change he’s made to the website over

the 9 months since he launched it, showing it wasn’t a one off act, but is ongoing calculated

abuse that doesn’t feel like it’s going to stop with him defying Judge Young and the OOP.

13.    No-one rational would target children the way he has, which he somehow justifies as per

his social media posts saying “[Jane] deserves it for marrying a child rapist”, even asking his

enabler friends Michael Weisberg to take photos of my children while getting off the school bus

after school, which is extremely disturbing to me. The moment he finds us and connects with the

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owners of the properties, he spins his narrative, and with them clearly afraid, they have all

reached out to me via text in one way or another to tell me to leave their property immediately

sharing the website link about me that he sends them, some texts with vicious profanity, for

example “Get the fuck out of my property” with one property owner becoming an enabler for

Defendant calling the Troopers to remove us from his property with no notice, reporting my

minor son for trespassing on his land when he had told us we could walk our dog on the adjacent

land prior to him receiving the website about me, locking us out of the garage and our

belongings, calling the dog warden that our dog is dangerous… with Defendant doxing us by
adding our addresses to his exclusive website about us so I would know he knows where we

were living.

14.     Given Defendant is a Court professional with his advanced book, The Respondent and

The Silver Bullet guide he wrote to help Respondents beat the Court system and make

Petitioners “the instigators” “pay” for taking action against them, he knows NY won’t extradite

him for violating the OOP and even though Vestal PD told me they would put a warrant out for

his arrest for violating the order with ongoing abuse almost one month after the OOP was

ordered by Judge Young, they said they won’t be able to do anything until Defendant comes back

into New York when they will arrest and charge him.

15.     Having reached out to Defendant’s hosting platform Wix and domain registrar, Go

Daddy, their legal departments confirmed to me in writing that I have to receive an Order with

their name on in order for them to remove the website and why injunctive action by this Court is

important to protect Plaintiffs in the future. I tried to explain they are a “third party” as specified

in Judge Young’s order, but unfortunately they said no. Family court can’t order Go Daddy or

Wix to take down the website, as they deal with family matters and ordered Defendant to take it

down, which he’s failed to do violating the Judge’s order. I pray for injunctive relief ordering

Defendant to remove the website, or I’ll be left with no choice but to take action against Go

Daddy and Wix in Federal court at potential huge expense to me against mammoth companies

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and more importantly, the website will continue to stay up until the outcome of a lawsuit, which

could take many months, with Defendant using the website to continue his criminal campaign of

harassment and stalking against me knowing nothing can be done against him given he moved to

Illinois to avoid prosecution. Defendant shares the how to for other Defendant’s with him

regurgitating his Silver Bullet strategy and victimhood to his thousands of followers on Social

Media.

16.      I believe he set up the websites about me with falsehoods and misrepresentations about

me and my children, firstly, because he’s vindictive and wants to destroy me, but also as a smoke
screen so no-one would believe my version of events of what he did to me and my children, with

him doing the exact same to his ex-wife in his book, The Respondent and in articles about his ex-

girlfriend, who he threatened to set up an exclusive website about in order to ruin her reputation

and business, just like he’s done to me.

17.      The Defendant is misogynistic and vindictive determined to use his “masculine” power

over women and put them in their place where they should be as per his ramblings to me

personally, and on his social media, podcasts, with extortion, threats, and abuse a part of his daily

life in order to get what he wants, stating to me numerous times, “his close friendship with Actor

Johnny Depp makes him a big name in Hollywood” seemingly believing this gives him a free

pass to get away with abusive obnoxious criminal behavior towards women like me, and the

rules don’t apply to him with his ex- management team Vanguard Talent Agency and his ex-

managers David Guc and Thomas Harrison protecting Defendant with Thomas Harrison lying on

his behalf knowing he sent revenge porn, but instead helped him to sweep this criminal abuse

under the carpet and contain the negative publicity so not to damage Defendant’s career.

18.      Defendant has never truly been held accountable for his actions as he’s a professional at

evading service with most cases filed against him in Los Angeles Superior Court taking women

years and significant costs to win their cases against him, only for him to file appeals and



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motions with outlandish excuses in the hope of overturning Court decisions, or to give him

extensions, which I have no doubt he will try in my case too. He’s made a mockery of the Family

and Civil Courts and brags about it in his book The Respondent, and his guide “The Silver

Bullet” teaching other misogynistic men how to overturn decisions, drain “the instigators”

resources, as if it’s a game to him, when to me (and no doubt other women), Civil and Family

Court is the only recourse I have to hold him responsible for his criminal acts and to stop him

continuing his abuse. It’s been difficult for Law Enforcement to charge him due to jurisdiction

with him initially fleeing Los Angeles to New York, then from New York to Illinois in December,
2023.

19.     Some of the women who had filed police reports against him in Los Angeles as per FOIL

requests gave up in their pursuit for Justice due to the harassment and abuse they were receiving

ongoing by him as per statements in court records, with more women in recent years taking a

stand against him, including his ex-landlord Debbie Bernstein who has filed 4 times for default

entry against Defendant with the Court giving him another 21 days to respond and so on. Debbie

Bernstein who I had a brief conversation with in November 2022 to help Defendant with another

mess he created, and haven’t spoken with since, tried to serve him for her case against him in

Los Angeles Superior Court on November 8th, 2023 and instead the process server was told by

his attorney’s he wasn’t there, and the very next morning on November 9th, 2023 Debbie

Bernstein received the exclusive website Defendant set up about me, which seems to me his

typical scare tactics if she didn’t stop her court action this is what is coming next for her.

20.     On belief, and from Court records and FOIL requests, Defendant’s pattern has been single

moms who have built successful careers for themselves. After the abuse starts and women try to

walk away, he scares them into silence, who become fearful for their lives and that of their

children, which is an extremely valid reaction given what myself and my children have gone

through with Defendant this last 18 months with physical violence, death threats, harassment,



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stalking, child endangerment, child maltreatment et cetera, with ongoing abuse on a daily basis

all because I walked away from Defendant and his film/tv project.

21.     This pattern spanning years with many women, all extremely successful in their own

right, includes his ex-wife Dana Rees, ex-girlfriends Producer/Writer Marti Noxon, Actress

Tricia O’Kelley, and Celebrity Photographer [Jane Doe] who along with his ex-wife Dana Rees

and his ex-girlfriend, also had to call LAPD for Domestic Violence with Defendant detained each

incident on 5150 holds instead of being arrested for Domestic Violence.

22.     Even though I’m afraid of what he will do to me, I’m more afraid of living like this the
rest of my life or what he will do to my children given how vindictive he is and why I refuse to

be silenced by him knowing the abuse, harassment, stalking will never stop and believe he is

dangerous and unstable, and will do anything to protect his fake public persona. He will always

try and keep that power over me and my children and I don’t want that for my future or for my

children and why I’ve pursued criminal action against him for the last 15 months with abuse by

him non-stop, including, filing reports to the FBI, NYSP, Chenango Sheriff’s who specifically

refused to protect us, instead the Chief of Police in Norwich Rubin Roach went to his house for

dinner with his wife while an active criminal investigation was ongoing and a restraining order

was in place against him filed by his ex-girlfriend. Every time I’ve filed a police complaint

against him for harassment, stalking, the websites, forgery, identity theft I’ve been told by Law

Enforcement it’s a civil matter, when at a minimum it’s Harassment in the 2nd degree NY 240.26

and Stalking in the 4th degree NY120.45 and why finally after 15 months in February, 2024, I

filed action in Federal Court against Defendant Greg Ellis aka Jonathan Rees accepting he won’t

be held accountable criminally for what he’s done to me and my children.

23.     Defendant regurgitates to anyone who will listen that Johnny Depp and Alec Baldwin are

his close friends, who according to Defendant wrote the forward and introduction for his book,

The Respondent. He uses this narrative to attract likeminded men for his “cause” against women



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who consequently become enablers of his abuse, helping him “stand up for men” against “The

Instigators” and women who he states “lie” to gain money, OOP’s, when the reality is Defendant

Jonathan Rees, aka Jonny Rees, aka Greg Ellis is a serial abuser with multiple women spanning

years and unlikely to stop unless he is held accountable criminally and/or civil action hurts his

bank balance, which may make him think twice about abusing other women in the future.

24.     Defendant believes he’s the victim, as per his own statements submitted to the Court in

response to his ex-girlfriend application for an OOP and are public record with him writing on

his OOP application against her that were eventually deemed false that “she is dangerous, trying
to kill him” after he sent out revenge porn, committed domestic violence, extortion where he

threatened to set up “Exclusive Websites about her”. The power and abuse he tries to impose

over women as demonstrated in multiple court filings over years is criminal and he uses the court

case to turn friends, family, business associates et al against women with typical isolating

techniques to crush them, just as he’s done to me.

25.     Based on belief, Defendant has a pattern of abuse, which I have been subjected to,

experiencing first hand Defendant weaponizing the Court System and witnessing him directly do

the same against other victims, including his ex-girlfriend with Defendant submitting a fake

Affidavit from me that I did not write or sign, to Honorable Judge Revoir in Chenango County

Court in support of Defendant’s petition to receive a Restraining Order against his ex-girlfriend

for crimes she did not commit. Defendant submitted this same fraudulent Affidavit to the NYSP

in the hope of arresting and charging his ex-girlfriend with the crimes he fabricated, proven

fraudulent by a Forensic Analyst. A Private Investigator called Kevin Berman contacted me via

text attaching an Affidavit to ask if I wrote and signed the Affidavit Defendant submitted to

Chenango County Court and NYSP, which I did not. When I discovered Defendant had used my

identity and forged my signature in an Affidavit I did not write or sign, I filed a complaint with

NYSP in Endwell, NY signing a complaint against Defendant under penalty of perjury.



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26.     For 18 months I have been in a constant high alert, looking over my shoulder given the

death threats Defendant sent to me and “keep your children safe” type messages Defendant sent

me, along with me being fully aware Defendant is in possession of guns illegally after the FBI/

DOJ denied him for being mentally defective under Title 18. Under belief, Defendant is

diagnosed with Bipolar and an undisclosed personality disorder, depression and Cocaine and

Alcohol abuse.

27.     Defendant works as full time Actor and Voiceover Artist in the Entertainment Industry

with more than 150 credits to his name and is able to function, be it with significant aggression
and various disorders, but Defendant is not an “incompetent person”.

28.     Given it’s impossible to know the lengths Defendant will go to in order to silence me, I

have a bag packed for myself and each of my children ready to move at the drop of a hat, staying

in hotels, airbnbs, and with friends, given each time we settle in a new home he locates us going

against Honorable Judge Young’s confidential order, then proceeds to turn the property owners

against me and my children, which has happened three times already, including with Shirley

D’Angelo and Michael Weisberg, with each of these individuals becoming close friends with

him, believing his narrative about how he’s close friends with Johnny Depp, and become

desperate to get me out of their property, which is dysfunctional for me and my children.

29.     Defendant pretending to be suicidal in February 2023 after I stepped away from him,

which manipulated me into coming back to help him personally and with his television project

was extremely taxing and harmful to me and my children, with me truly believing at the time he

was genuine and going to kill himself. The emotional distress was beyond anything I had ever

experienced up to this point in my life, which of course has magnified 100 fold with the websites

he’s set up about me, harassment, stalking, abuse ongoing.

30.     Months after I cut off Defendant, he started reaching out to my business associates,

including Eric Krohn from the Koffman Incubator in Binghamton who Defendant didn’t know.


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Eric believed his story that we were still working together on his documentary series and in my

drone company, and as Defendant can come across funny and charming, Eric unaware of the

abuse, harassment, stalking, death threats et cetera I was being subjected to, invited Defendant to

dinner at his house with him and his wife. I was out of town at the time. When I got back a week

later, Eric and I talked on the phone who assumed I knew Defendant had been at his house for

dinner, which I did not and found it extremely disturbing that Defendant was reaching out to

business associates building relationships with each of them under false pretenses, which

frightened me the lengths he was going to in order to infiltrate all aspects of my life, with no
boundaries.

31.     I believe the websites were set up about me to drown me out and prevent my voice from

being heard in regards to the abuse, myself and my children suffered by him, destroying my

livelihood pretty much overnight with my latest film Quest For Youth being pulled by my Sales

Agent after one of Defendant’s friends and enabler of abuse, Mark Skipper aka Skip Archimedes

sent the website Defendant set up about me to my Sales Agent Big Media who had secured

International Distribution for my film.

32.     I came to realize part of his abuse and how he finds me and my children is from his

friendships with enablers at my Children’s School District, and Sheriffs, including Broome and

Chenango County Sheriffs, which is extremely disappointing knowing we are not protected by

Law Enforcement. This is the power of him using that he’s worked with Johnny Depp on 4 films

in Pirates of the Caribbean and is close friends with him, which opens doors that are closed to the

rest of us. A day after I told the school district myself and my children were staying in Hilton

hotels, the first hotel received a call from a man professing to be from their School District trying

to find me, but refused to give their name. The School District’s Lawyer Mark Spinner told me

that no-one from the School District has called the Hotel looking for us. The second hotel

received a call from a man who stated he was a Lawyer, but also refused to give his name,

confirmed by Mark Spinner that neither he or the School District would call the Hotel looking for

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me, they would call my cell phone or email me and all knew I had an OOP in place against

Defendant.

33.     Defendant has used his advanced knowledge of the court system as noted in his book,

The Respondent to garner sympathy and leeway in previous Court actions offering his second

book “The Silver Bullet”to beat the Court system, which ultimately drags out proceedings

deliberately to increase Attorney fees for Plaintiff’s, destroying their health and financial stability

in the process, and why in part, I filed as Pro Se in my Federal Action against Defendant

preventing him from doing the same to me, plus, he’s destroys all my work opportunities
impacting me financially.

34.     Defendant shares openly in his books that the rule of Law doesn’t apply to him and

therefore doesn’t abide by set dates ordered by the Court. He told a Judge in one case in Los

Angeles Superior Court, which is public record and documented in his book, The Respondent

that the reason he failed the random drug test ordered by the Judge is because he ate a Poppyseed

Muffin from Starbucks just before the drug test resulting in a positive result. Defendant isn’t

credible and will share ridiculous statements and lies to the court in order to create confusion and

drag out cases. I have no doubt in a few weeks after the default has been entered by the Clerk

and I’ve spent a substantial amount of time submitting my motion for Judgment in favor of

Plaintiffs, Defendant will attempt to get the Default Judgment overturned citing he didn’t know

about the case and a myriad of other excuses he can muster to play victim with the Court and to

drag this case out longer at the detriment to myself, my children, and the Court, when he knows

exactly what he’s doing. Defendant enjoys playing games in order to abuse further —as

entertainment—and generates him additional revenue from his vast following with Defendant

spewing his misogynistic rhetoric online as part of his victimhood campaign.

35.     I’m an Independent Producer and Director working in the Entertainment Industry on a

full time permanent basis. I also established a Drone Company in 2020. After Board members



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received the website Defendant set up about me, I was asked to step down as the CEO to protect

the brand, which I did without resistance given how damaging these websites have been to me

personally, and with me the face of the Company and Defendant unable to stop, I agreed it could

impact the Company negatively just as we were getting ready to launch our first to market app,

with some Board Members resigning, including Josh Roth, who as the CTO of Ring, and VP of

Amazon had no choice, but to step down to protect himself after he received the website and

leaflets about me with falsehoods. It’s not that Board Members believe the information on the

website with falsehoods about me, but they are top Executives who know a website like this is
like a virus that can spread, damaging their reputations and other businesses they are involved

with. They were also concerned given Defendant had reached out to them via himself and his

enablers, that they may become a target themselves and expressed to me that they were

concerned by how unstable Defendant is and didn’t want to be associated to him in any shape or

form. Defendant’s criminal actions have damaged my business and my relationships with

executives who are the best and brightest in their fields.

36.     Defendant spews his rhetoric with his enablers regurgitating his narrative online that I

deserve this treatment because I’m a Director and Producer with a following of close to a million

people, yet, I doubt they would say the same about a male filmmaker. I don’t believe it’s

expected or acceptable with the treatment I’ve been subjected to by Defendant beyond the limits

of decency and is intolerable in a civilized society.

37.     I’ve been extremely successful with a strong work ethic since I started my own business

in 1997. I’ve never claimed any benefits or any other assistance, or had any health implications.

What I’ve earned has been from my hard work, creativity, fixation and originality, and

determination to build a good life for myself and my children, whom I’m financially responsible

for with sole custody.

38.     As an ex-competitive athlete I’ve always been fit and healthy, living a great lifestyle with

yoga, cross country skiing, sailing, traveling with my children globally, offered non-stop gigs,


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dramatically ruined by Defendant’s determination to destroy me and my reputation, which seems

never-ending and doesn’t seem like it’s going to let up anytime soon given it’s been almost a

month since I received an OOP and the abuse, harassment and stalking hasn’t slowed down, not

one bit.

39.        Since November 2022 when the abuse started by Defendant, I have developed health

complications, including stress, anxiety and a small lump has been found in my left breast that

has come out of nowhere. My doctor told me to reduce my stress and weight that I’ve gained as a

direct result of the stress and unhealthy lifestyle, moving from hotel to hotel always looking over
my shoulder with my previous peaceful existence a distant memory that I want to get back to,

made difficult given the amount of people Defendant has contacted with the website about me in

order to destroy my life. I have a follow up appointment in 6 months to ensure the lump hasn’t

grown bigger. I can supply medical records under seal at the damages inquest to back up my

claims.

40.        Significant weight gain and emotional distress is due to the falsehoods Defendant has

shared about me, including malicious prosecution with Defendant submitting a false complaint to

his friend’s in Chenango Sheriffs who didn’t arrest me or interview me for a complaint against

me, but interviewed me about my complaint against him then proceeded to charge me with

crimes that I did not commit, all on the basis of his complaint without any evidence or an

investigation conducted expected by Law Enforcement, yet nothing was done about Defendant

when I filed numerous complaints to Law Enforcement, including Chenango Sheriffs for close to

9 months prior to him filing one complaint against me on August 8th, 2023.

41.        Defendant has cost me thousands in Legal fees to defend myself in the criminal case. He

is weaponizing the criminal system to abuse me further and has sent out information about the

police charges to more than 50 people in the Film Industry, which has been the kiss of death for

me. Many people have contacted me about the website/leaflets and criminal charges, but there’s

a lot of people who he reached out to that just cut me out of their lives and I haven’t heard from


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them again even though I had good relationships with them prior to them receiving this fake and

malicious information about me. Defendant posted about the criminal case on Chenango FB page

with a hate campaign against me with Defendant using aliases and his enablers in the same

pattern he’s shared on his website about me and includes the website link in some posts.

42.     His friend the Magistrate in Smithville Flats who is not a qualified Lawyer, but is a bus

driver ordered a Temp order of protection against me pending the outcome of the criminal case,

exactly the same actions he did against Defendant’t ex-girlfriend after he sent out Revenge Porn

against her and she filed for an OOP and yet he lied, filed fake documents to the Court and Law
Enforcement in an attempt to get her charged like he has me.

43.     I am 100% sure the criminal case against me in Chenango will be dropped given

Defendant is not credible, with his complaint against me complete lies and the ramblings of an

unstable abuser who will do anything to maintain his victimhood persona, which he utilizes to

sell books et cetera, but the damage to my name, my reputation and my career is lifelong. I am

also subject to pre-trial conditions treated like a criminal registering my movements with

Chenango probation, not able to leave the State until the criminal allegations against me are

dismissed.

44.     I have financial obligations just like everyone else and my livelihood has been threatened

by Defendant’s unlawful actions intentionally destroying my reputation with falsehoods and

defamatory comments, impacting the financial stability for myself and my family, and harming

me as a Filmmaker, my current projects in the works, and my future projects.

45.     I have always invested my own money to develop a non-fiction project from a spark in

my head to pre-production, including pitch deck, storyboard, detailed budget, researchers,

business plan… to ensure the show isn’t just creatively pleasing, but also commercially viable,

and current with what Networks and Streaming Platforms are buying.

46.     There’s a lot of strategy and business acumen involved in bringing a film or television

project from conception to the screen. With 23 years in this business, I’m a seasoned professional


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Filmmaker with a flair for creativity and business, able to see around corners. My job comes

natural to me, however, after everything Defendant has done to me, I don’t know if I can recover

and pick up the pieces given the nature of the Entertainment Industry with trust central to my

role as a producer and director. It’s a scary prospect thinking I might have to find a new career at

50 years old.

47.     Depending on the type of project, I may cover all the costs myself, which is easier to do

on a Documentary Film given it’s not typically a continuous shoot, but can be filmed spanning

years, which is the case with my Film Quest For Youth. Signing an agreement with a Sales Agent
who secured International Distribution isn’t an easy task, which I achieved for my Quest For

Youth Film after two months of negotiations with earnings projected between $2.5m-$5m over

the next 3 years. I was extremely happy and proud of this production and on signing agreement

with Big Media, I informed all experts in the film who were all thrilled, eagerly anticipating the

Film release in territories around the world, who in turn informed their followers of the big news,

which now hasn’t happened, destroyed by Defendant’s unlawful actions with his exclusive

website about me shared with Big Media.

48.     There’s huge expense to cover development, pre-production, principle photography, post-

production, marketing et cetera and I funded my Quest For Youth Film with money I’ve earned

from working on previous shows. I try to have a project in each stage of the pipeline from

development to post production. The malicious intentions of Defendant not only prevented me

from being paid for my Film Quest For Youth, which was a significant investment spanning

years, with Big Media dropping my Film due to receiving the website about me, but also impacts

my current and future productions, with a negative domino effect on my other shows in various

stages of production. To say Defendant’s actions have harmed me is an understatement leaving

me with significant challenges to overcome with me not sure if I can rebuild my reputation in the

Entertainment Industry given how damaged I am due to Defendant and his unlawful actions

spanning the last 18 months, which I believe will get worse without injunctive relief.



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49.     I worked extremely long hours in order to generate income as an Independent Filmmaker,

which is used to pay my bills and provide for my children, and why I had no choice but to file

legal action in Federal Court against Defendant seeking damages for unlawful criminal actions

against me and my children, impacting all of us for the rest of our lives.

50.     Defendant didn’t think twice about harming me and knew my film would be pulled the

moment they received the messages with the website about me as reputation is crucial to

marketing a Film or TV project. It’s been a horrific period with non-stop abuse, harassment,

stalking, which Defendant’s friend’s participated in by sharing the same falsehoods and websites
about me, set up to torture me and destroy my business, when it’s all nonsense, misrepresented or

blatant lies.

51.     It’s hard enough already working as an Independent Filmmaker competing against huge

Studios without Defendant and his enablers working on his instructions, intentionally destroying

me and my business, and respectfully request that court accepts this Affidavit in support of my

Motion for Default Judgment.


                 II.     BASIS FOR ENTERING A DEFAULT JUDGMENT


52.     Federal Rule of Civil Procedure 55(b) provides for a court-ordered default judgment

following the entry of default by the court clerk under Rule 55(a).

53.     On April 4th, 2024, Defendant was served with a copy of the Summons and Amended

Complaint. ECF 17.

54.     On May 1st, 2024, a Clerk’s Certificate of Default was entered. ECF 21.

55.     To date, Defendant has neither filed an answer with the Court, responded to the

Complaint or otherwise formally appeared in this Action. More so, Defendant has never

contacted either myself or the Court at any time to request an extension of time to appear.

56.     As aforementioned, Plaintiffs have complied with Federal Rule of Civil Procedure 55(a).



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57.     Therefore, Plaintiffs respectfully request that the Court enter default judgment against

Defendant.


                            III.    DESCRIPTION OF DAMAGES


58.     Plaintiff requests an inquest to determine damages, but requests, at a minimum the

following:

A.      Counts One through Fifteen and Twenty through Twenty Seven, Damages for Child

Endangerment, Child Maltreatment, Harassment, Stalking, Gender Violence, Violation of
Civil Rights

59.     Plaintiff requests, at a minimum, $150,000.00 in damages on Counts One through Fifteen

and Twenty through Twenty Seven. As part of the Violence Against Women Act Reauthorization

Act of 2022, under the law a victim may recover actual damages for Gender Motivated Violence

and under Federal and New York State Law may recover actual damages for Child

Endangerment, Child Maltreatment,Violation of Civil Rights, Harassment, Stalking, and the cost

of the action, including reasonable attorney’s fees and other litigation costs reasonably incurred”

15 U.S.C. § 6851(b)(3)(A)(i). Plaintiff has actual damages in emotional distress because of

Defendant’s conduct. The Northern District awards damages in the amount of $300,000 to

$500,000 in damages based on the emotion distress suffered by Plaintiff (Angulo v 36th St.

Hospitality LLC, 2020 US Dist LEXIS 137816, at *38 [SDNY July 31, 2020]; see also, Villalta v

JS Barkats, P.L.L.C., 2021 US Dist LEXIS 75071, at *47 [SDNY Apr. 16, 2021, No. 16-CV-2772

(RA) (RWL)]).

B.      Counts Sixteen through Twenty: Claims for Intentional Infliction of Emotional

Distress

60.     To the extent emotional distress damages and punitive damages are not included in an

award of damages under A, it is respectfully requested that the sum of $300,000 be awarded as

emotional distress damages under Counts Sixteen through Twenty. Plaintiff also requests a ratio


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of 3:1 for punitive damages under the state law statutes damages (see Olson v Brenntag N. Am.,

Inc., 69 Misc 3d 1214[A], 2020 NY Slip Op 51315[U], *44 [Sup Ct, NY County 2020][the First

Department and other departments of the Appellate Division have affirmed or adopted damage-

award ratios greater than 1:1 (or for that matter 4:1]).

C.      Counts Twenty Eight through Thirty Two: Distress

61.     As a result of Defendant’s conduct, Plaintiff lost contracts she was working with. Plaintiff

estimates at a minimum $2,500,000 in lost profits.

D.      Costs

62.     Civil Rights Law 52-B, NYC Admin Code 10-180, and 15 U.S.C. § 6851 allow for an

award of costs. Plaintiff requests at a minimum $5,000.00 in costs and expenses of this action.

63.     No part of the judgment sought has been paid.


                                       IV.     CONCLUSION



64.     I have demonstrated diligent efforts with Defendant knowledgeable of these Court

proceedings, with Defendant making a conscious decision not to plead, answer or otherwise

defend my action against him. The party against whom it seeks a judgment of affirmative relief is

not an infant, in the military, or an incompetent person. I support the motion for Default

Judgment against Jonathan Rees aka Greg Ellis.




Executed on May 13, 2024.

                                                           _______________________

                                                       Jane Doe

                                                       Plaintiff




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                             EXHIBIT 1

                     Redacted Order of Protection




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                               EXHIBIT 2

                 Notice of Appeal for Order of Protection




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                              EXHIBIT 3

            Mental Health Records/Cocaine and Alcohol Rehab




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                               EXHIBIT 4

       DOJ/FBI Jonathan Rees aka Greg Ellis Firearms Denial Letter




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